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DEBTORS AND DEBTORS’ COUNSEL
Erin Energy Corporation           Matthew S. Okin
Erin Energy Limited               Texas Bar No. 00784695
Erin Energy Kenya Limited         David L. Curry, Jr.
Erin Petroleum Nigeria Limited    Texas Bar No. 24065107
1330 Post Oak Boulevard           John Thomas Oldham
Suite 2250                        Texas Bar No. 24075429
Houston, TX 77056                 Ryan A. O’Connor
                                  Texas Bar No. 24098190
                                  OKIN ADAMS LLP
                                  1113 Vine St, Suite 201
                                  Houston, Texas 77002
                                  Tel: 713.228.4100
                                  Fax: 888.865.2118
                                  mokin@okinadams.com
                                  dcurry@okinadams.com
                                  joldham@okinadams.com
                                  roconnor@okinadams.com

GOVERNMENT AGENCIES
Christine March,                  Internal Revenue Service         Texas Comptroller
Sr. Assistant US. Trustee         PO Box 7346                      PO Box 149348
Stephen Statham, Trial Attorney   Philadelphia, PA 19101-7346      Austin, TX 78714-9348
Hector Duran, Trial Attorney
Office of the U.S. Trustee
515 Rusk, Suite 3516
Houston, TX 77002
Christine.A.March@usdoj.gov
Stephen.Statham@usdoj.gov
Hector.Duran.Jr@usdoj.gov

Securities & Exchange             Lagos Internal Revenue Service   Federal Ministry of
Commission                        Itirin Court                     Environment
100 F Street, NE                  Bishop Aboyade Cole Street       7th & 9th Floors, Federal
Washington, DC 20549              Victoria Island Lagos            Secretariat
                                  NIGERIA                          Shehu Shagari Way PMB 468
                                                                   Garki, Abuja
                                                                   NIGERIA



Corporate Affairs Commission      Dept of Petroleum Resources      Nigerian Content Dev. Mgmt.
Dipo Akinbode, Banwo &            7 Kofof Abayomi Street           Isaac Boro Expressway
Ighodalo                          PMB 12650                        By Ololo Roundabout
98 Awolowo Road                   Victoria Island Lagos            Opolo, Yenagoa, Bayelsa
Iyoki Lagos                       NIGERIA                          NIGERIA
NIGERIA                           Attn: Bello Lanre                info@ncdmb.gov.ng
Attn: Dipo Akinbode               Bello.o.y@drp.gov.ng
dakinbode@banwo-ighodalo.com      (email failed)
            Case 18-32106 Document 173 Filed in TXSB on 06/04/18 Page 2 of 6
Nigerian Nuclear Regulatory           Industrial Training Fund           National Oil Spill Detection &
Agency                                2nd Floor Water-Front Plaza        Response
Plot 565-565 Airport Road, Central    270, Ozumba Mbadiwe Avenue         Plot 22 Ilaje Road
Area                                  Victoria Island Lagos              Ijapo Housing Estate
PMB 559                               NIGERIA                            Akure, Ondo
Garki, Abuja                          Attn: Tunde Elelu                  NIGERIA
NIGERIA                               tundelelu@yahoo.com                Attn: Imeh Ekanem
Attn: Dr. Yau Idris                   itfvictoriaisland@itf.gov.ng       Ekanemimea1@yahoo.com
yauidi@yahoo.com
yau.idris@nnra.gov.ng

Niger Delta Dev. Commission           Nigerian Maritime Admin &
Headquarter Office                    Safety
167 Aba Road                          4 Burma Road
Rivers State                          PMB 12861
NIGERIA                               Apapa
info@nddc.gov.ng (email failed)       NIGERIA



SECURED CREDITORS
James Street Capital Limited         The Mauritius Commercial Bank         Zenith Bank PLC
PO Box 32338 SMB                     Limited                               Attn: Michael Anokwuru
Genesis Building, 3rd Floor          11th Floor, MCB Head Office                   Nnamdi Edekobi
Georgetown                           9-15 Sir William Newton Street                Sheriff Ogunrinola
Grand Cayman                         Port Louis                            Zenith Heights PO Box 75315
CAYMAN ISLANDS                       MAURITIUS                             Plot 84/87 Ajose Adeogun Street
                                                                           Victoria Island
                                                                           Lagos
                                                                           NIGERIA
                                                                           Michael.Anokwuru@zenithbank.com
                                                                           Nnamdi.Edekobi@zenithbank.com
                                                                           Sheriff.Ogunrinola@zenithbank.com

James Street Capital Limited         Genesis Trust Corporate Services      Allied Energy PLC
c/o Herbert Smith Freehills          Elgin Court, Elgin Avenue             Plot 1649 Olosa Street
Paris LLP                            PO Box 448                            PO Box 73178
66 Avenue Marceau                    Georgetown                            Victoria Island
75008 Paris                          Grand Cayman KY1 1106                 Lagos
FRANCE                               CAYMAN ISLANDS                        NIGERIA


TWENTY LARGEST CREDITORS (FOR EACH ENTITY)
Baker Botts, LLP           Natural Resources Global Capital             Norton Rose Fulbright US, LLP
Attorneys at Law           Partners                                     98 San Jacinto Boulevard
910 Louisiana Street       29 Farm Street                               Suite 1100
Suite 3000                 London England                               Austin, TX 78701-4255
Houston, TX 77002          UNITED KINGDOM W1J 5RL

NYSE                                 Jackson Walker, LLP                P2ES Holdings LLC
5660 New Northside Dr. NW            2323 Ross Avenue                   1670 Broadway
3rd Floor                            Suite 600                          Suite 2800
Atlanta, GA 3328                     Dallas, TX 75201                   Denver, CO 80202




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Travel & More                    Pannell Kerr Forster of Texas,   Earl W. McNiel Consultant
7011 Harwin Drive                PC                               1606 Cambridge Oaks Circle
Suite 185                        5847 San Felipe                  Houston, TX 77094
Houston, TX 77036                Suite 2600
                                 Houston, TX 77057-3000

The Loev Law Firm, PC            Workiva, Inc.                    Broadridge ICS
6300 West Loop South             2900 University Blvd.            300 Executive Drive
Suite 280                        Ames, IA 50010                   Edgewood, NY 11717
Bellaire, TX 77401

John Michael Stinson             Dudu Hlatshwayo                  Canaccord Genuity Limited
6509 Edloe                       127 Greyvill Street              88 Wood Street
Houston, TX 77055                Kyalami Estates Midrand          London England
                                 SOUTH AFRICA                     UNITED KINGDOM EC2V
                                                                  7QR

Mindshift Technologies Inc.      Looper Goodwine, PC              Johannesburg Stock Exchange
500 Commack Road                 1300 Post Oak Blvd.              Private Bag X991174
Suite 140                        Suite 2400                       Sandton, 2146
Commack, NY 11725                Houston, TX 77489                SOUTH AFRICA

Ipreo Data, Inc.                 Renmark Financial                BGP Kenya Limited
1359 Broadway                    Communications, Inc.             Kalamu House 3rd Floor
2nd Floor                        1050-3400 De Maisonneuve         Brookside Drive
New York, NY 10018               West                             PO Box 48272-00100
                                 Montreal Quebec                  Nairobi
                                 CANADA H3Z 3B8                   KENYA

Ministry of Energy Training      Gina Din Kariuki                 Arora Properties Limited
Fund                             PO Box 42518                     Lion PL Waiyaki Way
23rd Floor, Nyayo House          Nairobi                          Westlands
Kenyatta Avenue                  KENYA                            Nairobi
KENYA                                                             KENYA

Kenya Oil & Gas Association      Bumi Armada Berhad               Transocean/Indigo
PO Box 856-00606                 Armada Oyo Ltd.                  4 Greenway Plaza
Nairobi                          1, Fusionopolis Walk #11-02      Houston, TX 77046
KENYA                            Solaris South Tower
                                 138628
                                 SINGAPORE

GE/Pressure Controls Systems     Petromarine Nigeria Limited      Schlumberger
Nigeria Ltd.                     2-4 Morsley Road                 10101 Woodloch Forest Drive
Mansard Place, Plot 927-928      Off Gerard Road                  The Woodlands, TX 77380
Bishop Aboyade Close Street      Ikoyi
Victoria Island                  Lagos
Lagos                            NIGERIA
NIGERIA

Halliburton Operations Nigeria   Pacific Bora Limited             Schiste Oil & Gas Limited
Plot 90 Ajose Adeogun Street     Pacific International Drilling   1 Justice Rose Ukeje Street
Victoria Island                  1170 Katy Freeway                Off Adeshola Akinnifesti Street
Lagos                            Suite 175                        Lekki Scheme 1
NIGERIA                          Houston, TX 77079                Lagos

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                                                                     NIGERIA


Court Helicopters Nigeria Ltd.    T1 Marine Services Limited         Tilone Subsea Limited
Plot 1649 Olosa Street            3rd Fl, Aqua Towers Complex        c/o Uche T.K. Alaoma & Co.
Victoria Island                   Plot 12A AJ Marinjo Drive          13 Igbokwe Street, D/Line
Lagos                             Off Sinari Daranijo St.            Port Harcourt
NIGERIA                           Victoria Island                    NIGERIA
                                  Lagos
                                  NIGERIA

Crossbow Oilfield Industries &    JDR Cable Systems Limited          Multiplan Nigeria Limited
Services                          Attn: Alistair Mackie              7 Rumuogba Estate Road
7 Shakiru Anjorin St.             Littleport Innovation Park         Port Harcourt
Off Admiralty Road                177 Wisbech                        Lagos
Lekki Phase 1                     Littleport Cambridgeshire          NIGERIA
Lagos                             UNITED KINGDOM CB6 1RA
NIGERIA

Oceaneering Services Nigeria      Frank’s International WA (BVI)     Intels Nigeria Limited
Eleganza Estate, KM 20            Jebel Ali South Zone               Onne Oil & Gas Free Zone
Lekke Epe Express                 PO Box 12388                       Onne
2nd Tollgate After Chevron        Dubai                              NIGERIA
Junction                          UAE
Lekki
Lagos
NIGERIA

AOS Orwell Limited                Public Investment Corp SOC
2nd Floor, Lateef Jakande House   Menlyn Main Central Square
3/5 Adeyemo Alakija St.           Waterkloof Glen
Victoria Island                   Extension 2 0181
Lagos                             Pretoria
NIGERIA                           SOUTH AFRICA

PARTIES REQUESTING NOTICE
Pasadena Insurance Agency, Inc.      Oceaneering Svcs Nigeria Ltd.     Armada Oyo Limited
Michael J. Durrschmidt               David S. Elder                    Bumi Armada (Singapore) Pte. Ltd.
T. Raybourn                          G. Gattis                         Kevin M. Lippman, Esq.
V. Dessens                           R. Diep                           P. Moore, J. Cornwell, S. Sturm
Hirsch & Westheimer, PC              Foley & Lardner LLP               Munsch Hardt Kopf & Harr, PC
1415 Louisiana, 36th Floor           1000 Louisiana Street,            500 N. Akard Street, Suite 3800
Houston, TX 77002                    Suite 2000                        Dallas, TX 75201-6659
mdurrschmidt@hirschwest.com          Houston, TX 77002                 klippman@munsch.com
traybourn@hirschwest.com             dselder@foley.com                 pmoore@munsch.com
vdessens@hirschwest.com              ggattis@foley.com                 jcornwell@munsch.com
                                     rdiep@foley.com                   ssturm@munsch.com

Harris County                        Halliburton Energy Services       Transocean Offshore &
c/o Tara L. Grundemeier              c/o Omar J. Alaniz                Indigo Drilling
Linebarger Goggan Blair et al        Baker Botts LLP                   c/o James R. Prince
PO Box 3064                          2001 Ross Avenue, Suite 700       Baker Botts, LLP
Houston, TX 77253-3064               Dallas, TX 75201-2980             2001 Ross Avenue, Suite 700
Houston_bankruptcy@publicans.com     Omar.alaniz@bakerbotts.com        Dallas, TX 75201
                                                                       jim.prince@bakerbotts.com
                                               -4-
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Four Oaks Place Operating, LP       Mauritius Commercial Bank           Oltasho Nigeria Limited
Gus E. Pappas                       Ltd.                                c/o Kwame N. Cane, Esq.
Heather L. Lingle                   c/o Benjamin Mills &                Looper Goodwine, PC
Dabney Pappas                       Jonathan C. Cross                   1300 Post Oak Blvd, Suite 2400
1776 Yorktown, Suite 425            Herbert Smith Freehills NY          Houston, TX 77056
Houston, TX 77056                   LLP                                 kcain@loopergoodwine.com
heather@dabneypappas.com            450 Lexington Avenue, 14th Fl.
                                    New York, NY 10017
                                    Benjamin.mills@hsf.com
                                    Jonathan.cross@hsf.com

Public Investment Corp. Soc. Ltd.   Public Investment Corp. Soc. Ltd.   Pacific Bora Ltd and Pacific Int’l
c/o Rebecca L. Petereit &           c/o Laura R. Hall &                 Drilling West Africa Ltd.
Bradley R. Foxman                   Ken Coleman                         c/o Elizabeth J. Futrell
Vinson & Elkins LLP                 Allen & Overy LLP                   Jones Walker LLP
Trammell Crow Center                1221 Avenue of the Americas         201 St. Charles Ave., Suite 5100
2001 Ross Avenue, Suite 3700        New York, NY 10020                  New Orleans, LA 70170-5100
Dallas, TX 75201-2975               Laura.Hall@AllenOvery.com           efutrell@joneswalker.com
rpetereit@velaw.com                 Ken.Coleman@AllenOvery.com
bfoxman@velaw.com

Baker Hughes                        Baker Hughes                        Nigerian Agip Exploration Ltd.
c/o Phil F. Snow                    c/o Christopher J. Ryan             Ronald J. Silverman, Esq.
W. Ross Spence                      PO Box 4740                         Hogan Lovells US LLP
Snow Spence Green LLP               Houston, TX 77210-4740              875 Third Avenue
2929 Allen Parkway, Suite 2800                                          New York, NY 10022
Houston, TX 77019                                                       Ronald.silverman@hoganlovells.com
philsnow@snowspencelaw.com
ross@snowspencelaw.com

Nigerian Agip Exploration Ltd.      Nigerian Agip Exploration Ltd.      BDO USA, LLP
M. Shane Johnson, Esq.              John D. Beck, Esq.                  Laurence W. Goldberg
Hogan Lovells US LLP                Hogan Lovells US LLP                Director, Receivables Management
875 Third Avenue                    875 Third Avenue                    4135 Mendenhall Oaks Pkwy, #140
New York, NY 10022                  New York, NY 10022                  High Point, NC 27265
shane.johnson@hoganlovells.com      john.beck@hoganlovells.com          lgoldberg@bdo.com



JDR Cable Systems Limited           Official Committee of               Official Committee of
Richard W. Staff                    Unsecured Creditors                 Unsecured Creditors
Jeff Weems                          Jeffrey N. Pomerantz                Steven W. Golden
Staff Weems LLP                     Ira D. Kharasch                     Pachulski Stagn Ziehl & Jones
6363 Woodway, Suite 1100            Jason H. Rosell                     780 Third Avenue, 34th Floor
Houston, TX 77057                   Pachulski Stang Ziehl & Jones       New York, NY 10017
rstaff@staffweems.com               10100 Santa Monica Blvd.            sgolden@pszjlaw.com
jweems@staffweems.com               13th Floor
                                    Los Angeles, CA 90067
                                    jpomerantz@pszjlaw.com
                                    ikharash@pszjlaw.com
                                    jrosell@pszjlaw.com




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Unitech International, Inc.
c/o Brian W. Zimmerman
Zimmerman Axelrad Meyer et al
3040 Post Oak Blvd, Suite 1300
Houston, TX 77056-6560
bzimmerman@zimmerlaw.com




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